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8
9                               UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                     EASTERN DIVISION
12     UNITED STATES OF AMERICA,                      Case No. ED CR 15-0093-JGB
13                 Plaintiff,                         OBJECTION TO GOVERNMENT’S
                                                      PARTIAL OPPOSITION TO
14           v.                                       DEFENDANT’S EX PARTE
                                                      APPLICATION FOR ORDER
15     ENRIQUE MARQUEZ, JR,                           RELIEVING FEDERAL PUBLIC
                                                      DEFENDER AND APPOINTING
16                 Defendant.                         CJA PANEL COUNSEL
17
18           The Office of the Federal Public Defender objects to the government’s request
19     for immediate disclosure of any expert reports that Mr. Marquez intends to rely upon in
20     support of his sentencing position. As stated in the Ex Parte Application filed on June
21     5, 2018, we have a conflict of interest in continuing our representation of Mr. Marquez.
22     Any decision regarding the substance of a sentencing position paper and the disclosure
23     of any reports that may be used in preparation of that report must be made by Mr.
24     Marquez’ new counsel.
25                                           Respectfully submitted,
26                                           HILARY POTASHNER
                                             Federal Public Defender
27
       DATED: June 6, 2018                By /s/ Amy M. Karlin
28                                          AMY M. KARLIN, DFPD
